                 Case 3:23-cv-02880-JSC Document 73 Filed 06/14/23 Page 1 of 3




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12   Attorneys for Plaintiff Federal Trade Commission
13
                                    UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
15

16
     FEDERAL TRADE COMMISSION,
17
                     Plaintiff,
18                                                    Case No. 3:23-cv-2880-JSC
            v.
19                                                    PLAINTIFF FEDERAL TRADE
     MICROSOFT CORP.
20                                                    COMMISSION’S NOTICE OF INTENT
     and                                              TO OPPOSE DEFENDANTS’ MOTION
21                                                    FOR EXPEDITED CASE
     ACTIVISION BLIZZARD, INC.,                       MANAGEMENT CONFERENCE
22
                     Defendants.
23

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28   PLAINTIFF’S NOTICE OF INTENT TO OPPOSE DEFENDANTS’ MOTION FOR EXPEDITED CASE
     MANAGEMENT CONFERENCE
     CASE NO. 3:23-CV-2880
               Case 3:23-cv-02880-JSC Document 73 Filed 06/14/23 Page 2 of 3




1           Plaintiff Federal Trade Commission respectfully submits this Notice that it intends to

2    file an opposition to Defendants’ Motion for Expedited Case Management Conference (the

3    “Motion”). Plaintiff is filing this Notice for two reasons:

4       First, Defendants’ request relief that would require the parties to file a “joint case

5    management statement” with the Court today. Mot. at 12 (Proposed Order). Plaintiff

6    respectfully requests the opportunity to respond if the Court is inclined to grant any part of

7    Defendants’ Motion.

8       Second, and relatedly, Defendants failed to comply with Local Rule 16-2(d)(2) before filing

9    their Motion. Plaintiff first received notice of the relief Defendants request in the Motion when

10   the Motion was filed and served via ECF. This further prejudices Plaintiff’s ability to respond to

11   a Motion seeking relief the same day it was filed. Defendants’ statement that “Plaintiff Federal

12   Trade Commission has declined to join a request for an expedited Initial Case Management

13   Conference,” Mot. at 8, is incorrect in suggesting that the parties conferred about the Motion.

14   On Tuesday, June 13, before the Court issued its Order granting a temporary restraining order

15   and setting the hearing for June 22-23 (Dkt. No. 37), Defendants provided Plaintiff a draft joint

16   motion for an expedited case management conference that was very different from the Motion

17   filed today. See Fleury Decl. at Ex. A. Plaintiff declined to join that draft motion. See Fleury

18   Decl. at Ex. B. Defendants have not communicated with Plaintiff since the Court issued its

19   Order of June 13 and never sought to meet and confer with Plaintiff about the relief requested in

20   the Motion filed today.

21          Plaintiff intends to file an opposition to the Motion by 2:00 p.m. Pacific Time tomorrow,

22   June 15, 2023. Plaintiff needs that time to respond to the substance of the Motion, not least

23   Defendants’ claim that “time is of the essence” because the deal “has a termination of date of

24   July 18,” which ignores the fact that the United Kingdom Competition and Markets Authority

25   has issued orders barring the transaction. Mot. at 3. Plaintiff’s counsel is available for a

26   conference with the Court at the Court’s convenience.

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28   PLAINTIFF’S NOTICE OF INTENT TO OPPOSE DEFENDANTS’ MOTION FOR EXPEDITED CASE
     MANAGEMENT CONFERENCE
     CASE NO. 3:23-CV-2880
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              Case 3:23-cv-02880-JSC Document 73 Filed 06/14/23 Page 3 of 3




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2    Dated: June 14, 2023                         Respectfully submitted,

3                                                 /s/ James H. Weingarten
                                                  James H. Weingarten
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                                                  James Abell
5                                                 Cem Akleman
                                                  J. Alexander Ansaldo
6                                                 Michael T. Blevins
                                                  Amanda L. Butler
7                                                 Nicole Callan
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8                                                 Kassandra DiPietro
                                                  Jennifer Fleury
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                                                  James Gossmann
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19                                                Counsel for Plaintiff Federal Trade
                                                  Commission
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28   PLAINTIFF’S NOTICE OF INTENT TO OPPOSE DEFENDANTS’ MOTION FOR EXPEDITED CASE
     MANAGEMENT CONFERENCE
     CASE NO. 3:23-CV-2880
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